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IN THE UNITED sTATEs DISTRICT coURT FH'EC E‘-’
FoR THE wEsTERN DISTRICT oF TENNESSEE

WESTERN DIVISION

 

UNITED STATES OF AMERICA
Plaintiff,

VS. CR. NO. 04-20311~05-Ml

VENCEL MARTIN

Defendant.

-__»~_/-_» -.--_¢~_/-_/-._¢'-_¢~_/

 

ORDER ON CHANGE OF PLEA

 

This cause came to be heard on May 26, 2005, the United States
Attorney for this district, Vivian Donelson, appearing for the Government
and the defendant, Vencel Martin, appearing in person and with Counsel,
Stephen Leffler, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Counts 20 and 22 of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this Case is SET for WEDNESDAY, AUGUST 24, 2005, at 9:00
a.m., in Courtroom No. 4, on the 9th floor before Judge Jon Phipps McCalla.

Defendant is allowed to remain released on present bond.

ENTERED this the QLO day of May, 2005.

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JO PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

This docr,ment entered on the docket sheet In compliance
with R\lie 55 and!or 321¥)} FRCrP on ’ "

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UNITED `SATES DISTRIC COURT - WTERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 163 in
case 2:04-CR-20311 Was distributed by faX, mail, or direct printing on
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Larry E. Fitzgerald
FITZGERALD & HARRIS
22 N. Second Street

Ste. 410

1\/lemphis7 TN 38103

Vivian R. Donelson

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

DeWun R. Settle

LAW OFFICE OF DEWUN R. SETTLE
100 N. Main Bldg.

Ste. 3001

1\/lemphis7 TN 38103

Mark Saripkin

LAW OFFICE OF MARK SARIPKIN
140 N. Third St.

1\/lemphis7 TN 38103

Stephen R. Left]er
LEFFLER LAW OFFICE
707 Adams Ave.
1\/lemphis7 TN 38105

Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

1\/lemphis7 TN 38103

William C. Gosnell

LAW OFFICE OF WILLIAM C. GOSNELL
245 EXchange Ave.

1\/lemphis7 TN 38105

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Honorable J on McCalla
US DISTRICT COURT

